IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

ESURANCE INSURANCE SERVICES, INC.,

Plaintiff,

Vv.
Case No: 3:21-cv-01226
Jennifer Tucker,

SERVE AT:

2905 W. 20" Street,

Granite City, IL 62040

and

)
)
)
)
)
)
)
)
)
)
)
)
)
United Auto Delivery and Recovery, Inc. )
SERVE REGISTERED AGENT: )
Corporation Service Company )
2908 Poston Ave., )
Nashville, TN 37203-1312 )
)

)

)

)

)

)

)

)

)

)

)

)

)

)

)

)

)

i:

 

and

Bridgecrest Credit Co., LLC.,
SERVE REGISTERED AGENT:
Corporation Service Company
8825 N. 23" Ave., Ste. 100
Phoenix, AZ 85021

 

and
Frank H. Smith,
SERVE AT:
1245 Forrest Trails Court,
Fenton, MO 63026

Defendants.

COMPLAINT FOR DECLARATORY JUDGMENT

Comes now Plaintiff, ESURANCE INSURANCE SERVICES, INC. (“ESURANCE”), by

Case No.: 3:21-cv-01226 Page 1 of 14
and through its undersigned attorneys, BETH C. BOGGS and BOGGS, AVELLINO, LACH &
BOGGS, L.L.C., and for its Complaint for Declaratory Judgment, states as follows:
ALLEGATIONS COMMON TO ALL COUNTS

1. At all relevant times, ESURANCE is a corporation, incorporated under the laws
of the State of Delaware, with its principal place of business at 650 Davis Street, in San
Francisco, California. Therefore, ESURANCE is a citizen of Delaware and California.

2, Upon information and belief, at all relevant times, Defendant, Jennifer Tucker
(“Tucker”), is a natural person and a citizen of the State of Illinois, residing at 2905 W. 20"
Street, Granite City, IL 62040.

: Upon information and belief, at all relevant times, Defendant, United Auto
Delivery and Recovery, Inc. (“United Auto”), is a corporation incorporated under the laws
of the State of Tennessee and, therefore, is a citizen of Tennessee, with its principal office
located at 311 Moore Ln., in Collierville, TN 38017.

4. Upon information and belief, at all relevant times, Defendant, Frank H. Smith
(“Smith”), is a natural person and a citizen of the State of Missouri, residing at 1245 Forrest
Trails Court, Fenton, MO 63026, and at all times relevant was employed by Defendant,
United Auto Delivery and Recovery, Inc.

5; Upon information and belief, at all relevant times, Defendant, Bridgecrest
Credit Company, LLC (“Bridgecrest”), is a limited liability corporation formed under the laws
of the State of Arizona and each of its members, Clay Scheitzach, Mary Leigh Phillips, Daniel
Gaudreau and Silver Rock Group, Inc., are citizens of the State of Arizona, each listing 1720

West Rio Salado Parkway, in Tempe, AZ 85281, as their address. Thus, based on information

Case No.: 3:21-cv-01226 Page 2 of 14
and belief, Defendant, Bridgecrest Credit Company, LLC is a citizen of Arizona.

6. Lindsey Consentino (“Consentino”), a natural person and citizen of the State
of Missouri, purchased a Missouri personal automobile insurance policy (“the subject
policy”) from ESURANCE, on or about June 18, 2018, covering a 2015 Acura ILX (VIN No.
19VDE1F39FE009427).

Fie On January 28, 2021, Defendant, Tucker filed her Fifth Amended Complaint
in the Circuit Court of Madison County, Illinois, Case No. 19-L-184, entitled Jennifer Tucker
v. Frank H. Smith, et. al, directed against Defendants Smith, United Auto, Bridgecrest, and
ESURANCE (“the underlying litigation”), arising out of a motor vehicle incident that allegedly
occurred on August 23, 2018. (See attached, Ex. 1.)

8. In the underlying litigation, Defendant, Tucker alleges Defendant Smith was
towing a vehicle, a 2015 Acura ILX (VIN No. 19VDE1F39FE009427), that he repossessed
from Ms. Consentino, on behalf of his employer, Defendant, United Auto, which entity was
directed to repossess the vehicle by Defendant, Bridgecrest, the alleged lienholder of the
repossessed vehicle.

9. While operating the tow truck owned by his employer, which was towing the
repossessed 2015 Acura ILX, Defendant, Smith, while in the course and scope of
employment, collided with the rear of a school bus operated by Defendant, Tucker, allegedly
causing injury and damages.

10. In the underlying litigation, Defendant, Tucker, alleges that, by towing the
repossessed vehicle, Defendant, Smith was using the towed vehicle, which was under his

control, and that coverage should exist under the Missouri personal policy of insurance,

Case No.: 3:21-cv-01226 Page 3 of 14
purchased by Ms. Consentino.

11. In the underlying litigation, Defendant, Tucker asserted Count VIII—
Declaratory Judgment against Plaintiff, ESURANCE, seeking coverage for the above-
described accident.

12. In the underlying litigation, ESURANCE filed an Answer and Affirmative
Defenses in response to the Count directed against it, alleging there was no coverage for the
claim asserted, in that there was no coverage for the subject accident, based on the policy
language and Missouri Law.

13. In the underlying litigation, ESURANCE also filed a motion to sever the
Declaratory Judgment claims from the remainder of the suit.

14. In response to the motion to sever, Defendant, Tucker dismissed her claims
against ESURANCE in the underlying suit, without prejudice, and ESURANCE was dismissed
from that case on September 17, 2021. The controversy concerning the parties’ rights and
obligations under the subject policy remains unresolved.

15. Resolution of the matters raised in this Declaratory Judgment action would
dispose of all issues b, arising out of the policy, between the parties.

16. Defendant, Tucker's claim for damages against ESURANCE in the underlying
suit seeks the subject policy’s per-person limit of $100,000.00, the amount in controversy is
in excess of $75,000.00, exclusive of interest and costs.

Jurisdiction and Venue
17. This court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a), in

that ESURANCE and the Defendants have diversity of citizenship, and the amount in

Case No.: 3:21-cv-01226 Page 4 of 14
controversy exceeds $75,000.00. This is a justiciable matter under 28 U.S.C. §2201(a).

18. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(c) as the motor
vehicle accident giving rise to the underlying litigation occurred in Illinois.

19. | ESURANCE requests that this Court declare there is no coverage for the claims
of the Defendants in that Defendant, Smith was not a permissive user of Ms. Consentino’s
vehicle, and Defendants Frank Smith and United Auto do not qualify as insureds under the
subject policy, and the underlying loss is excluded by the subject policy.

20. An actual controversy exists between Plaintiff, ESURANCE and the named
Defendants, and the actual controversy herein is justiciable and dependent upon the
construction of an insurance policy.

21. — Resolution of the matters raised in this Complaint for Declaratory Judgment
would dispose of all issues between the parties, arising out of the policy.

THE SUBJECT AUTOMOBILE INSURANCE POLICY

22. Ms. Consentino purchased an ESURANCE personal automobile policy in
2018, listing her address as 17 N. lola, in Saint Louis, Missouri.

23. The associated policy number was PAMO7680850 and it carried a bodily
injury liability limit of $100,000.00, per person, and the policy’s effective dates were from
June 20, 2018, through December 20, 2018.

24. — The Subject Policy contains the following pertinent terms (See policy, labeled
Exhibit 2):

ok

INSURING AGREEMENT

Case No.: 3:21-cv-01226 Page 5 of 14
When “we” agree to issue this policy, and when “we” agree to renew this policy,
“we” rely upon the truth and accuracy of the information “you” provide to “us” and
the representations made by “you”in “your” Application for this insurance and at the
time of each renewal. “Your” Application, the policy terms and conditions, all other
forms “we” provide to “you”, and Endorsements issued by “us”, are part of, and form,
“your” policy. The duties and obligations imposed by this policy shall be binding
upon “you”, “family members”, and other persons seeking coverage or benefits under
this policy.

In return for “your” premium payment, “we” agree to insure “you” subject to all the
terms of this policy as follows:

DEFINITIONS APPLICABLE TO ALL COVERAGES

The following definitions in their singular, plural, and possessive forms apply
throughout this policy when printed in “boldface italics within quotation marks”.

1. “You” and “your” refer to:

A. The named insured(s) shown on the Declarations page;

ok

az “We", “us”, and “our” refer to the Company providing this insurance, as shown
on the Declarations page.

3. “Accident” means a sudden, unexpected, and unintended event.

4. “Auto” means a land motor vehicle:
A. Registered under the applicable motor vehicle laws;
B. Designed principally for operation upon public roads:

Case No.: 3:21-cv-01226 Page 6 of 14
2 kk

5. “Bodily Injury” means bodily harm, sickness, or disease, including death that

results from bodily harm, sickness, or disease.

6. “Business” includes trade, profession, or occupation.
7 “Covered Auto” means:

A, Any vehicle identified on “your” Declarations page;
ok ok

10. “Loss” means:

A. Sudden, direct, and unintended physical damage; or

B. Theft.

KR

PART |: LIABILITY COVERAGE

ee

INSURING AGREEMENT:

Subject to the Limits of Liability, “we” will pay damages for “bodily injury” and
“property damage” for which any “insured” becomes legally responsible because of
an auto “accident”. “We” will settle or defend as “we” deem appropriate, any claim
or lawsuit. However, “we” will not pay for punitive or exemplary damages under Part
I. In addition to “our” limit of liability, “we” will pay costs “we” incur when “we”
defend an “insuread’”. “Our“ duty to settle or defend ends when “our” limit of liability
for this coverage has been exhausted by payment of judgments or settlements, or the

limit is paid into a court that has jurisdiction. “We“have no duty to defend any lawsuit

Case No.: 3:21-cv-01226 Page 7 of 14
or settle any claim for “bodily injury” or “property damage” not covered under this
policy.
ADDITIONAL DEFINITIONS FOR PART I: LIABILITY COVERAGE
1. “Insured” as referred to in Part | means:
A. “You”, or any “family member” for the ownership or operation of any

“auto” or trailer while towed by or attached to a covered “auto”:

B. Any person using a “covered auto” with permission from “you” or a
“family member’.
C, For a “covered auto”, any person or organization but only with respect

to vicarious responsibility for acts or omissions of an insured person
described in 1.A. or 1.B., above; or

D. For any “auto” or “trailer” other than a “covered auto”, any other person
or organization but only with respect to vicarious responsibility for the
acts or omissions of “you” or a “family member”. This Provision 1.D.
applies only if the person or organization does not “own” or hire the

“auto” or “trailer”.

* KK

EXCLUSIONS FOR PART I: LIABILITY COVERAGE

(Read carefully. If any of the exclusions below apply, coverage will not be afforded

under Part I.)

1. “We” have no duty to defend and do not provide Liability Coverage for any

“insured”:

Case No.: 3:21-cv-01226 Page 8 of 14
ok ok

F. For that “insured’s” liability arising out of the ownership or operation
of any vehicle while it is used as a public livery or conveyance, or used
to carry property for compensation or a fee. This Exclusion 1.F. applies
to, but is not limited to, the delivery of magazines, newspapers, food
or any other products. However, this Exclusion 1.F. does not apply to

shared-expense car pools.

G. While employed or otherwise engaged in the “business” of:
(1) Selling;
(2) Leasing;

(3) Repairing;
(4) Testing;

(5) Servicing;

(6) Storing;
(7) Parking;
(8) Cleaning;

(9) Delivering:

Vehicles designed for use mainly on public highways.

This Exclusion 1.G. does not apply to the ownership, maintenance, or
use of a “covered auto” by:

(1) “You” or

(2) Any “family member”.

Case No.: 3:21-cv-01226 Page 9 of 14
H. Maintaining or using any vehicle while that “insured” is employed or
otherwise engaged in any “business” (other than farming or ranching).
This Exclusion 1.H. does not apply to business use of a “covered auto”
by an “insured” that has been disclosed to “us” and for which all
applicable premiums have been paid.

I. Using a vehicle without permission of its “owner” to do so. This
Exclusion 1.1. does not apply to a “family member” using a “covered

auto” “owned” by “you”.

kk

3. “We” will not pay for punitive or exemplary damages under this Part I.

A. If a court with proper jurisdiction determines that an exclusion is invalid or
unenforceable because it does not satisfy the minimum requirements of the
Missouri Motor Vehicle Financial Responsibility Law, the exclusion will apply
to the extent that the limits of liability for this coverage exceed the “minimum
limits”.

ok ok

OTHER INSURANCE

If there is other applicable liability insurance available under one or more policies or
provisions of coverage, “we” will pay only “our” share of the damages. “Our” share
is the proportion that “our” limit of liability bears to the total of all applicable limits.
However, any insurance “we” provide for a vehicle “you” do not “own”, including

any temporary substitutes, shall be excess over any other collectible insurance, self-

Case No.: 3:21-cv-01226 Page 10 of 14
insurance, or bond.

* ok

COUNT | - DECLARATION THAT DEFENDANT FRANK SMITH AND DEFENDANT
UNITED AUTO DO NOT QUALIFY AS INSUREDS AND THERE IS NO COVERAGE
AVAILABLE UNDER THE SUBJECT AUTO POLICY FOR THE UNDERLYING LOSS

25. Plaintiff incorporates each and every allegation contained in {§ 1 through 24,
as if fully set forth and restated herein, verbatim.

26. The policy’s insuring agreement indicates, “Subject to the Limits of Liability,
we will pay damages for bodily injury and property damage for which any insured becomes
legally responsible because of an auto accident.”

27. The subject Acura was not being used by an insured at the time of the accident.

28. As the policy language quoted above demonstrates, an unnamed driver can
qualify as an insured under the policy, as the definition of insured includes, “Any person
using a covered auto with permission” from the named insured or a family member.

29. Defendants Smith and United Auto did not have Ms. Consentino’s permission
to use the Acura, rather, they repossessed the Acura.

30. Merriam-Webster dictionary defines repossessed in the following manner, “to
regain possession of; to take possession of (something bought) from a buyer in default of the
payment of installments due.”

31. Because Defendant, Smith and Defendant, United Auto were taking
possession of the Acura, without permission from the named insured, Ms. Consentino, they

do not qualify as insureds under the subject policy.

Case No.: 3:21-cv-01226 Page 11 of 14
32. Because they do not qualify as insureds under the policy, there is no coverage
available to Defendants Smith and United Auto, based on the policy’s insuring agreement.
33. Thus, Plaintiff, ESURANCE, owes no coverage for defense or indemnity to the
other parties to this case, flowing from the underlying motor vehicle accident.
WHEREFORE, having fully set forth COUNT-| of its Claim for Declaratory Judgment,
Plaintiff, ESURANCE INSURANCE SERVICES, INC., respectfully requests that this Court enter
a Declaratory Judgment and equitable decree indicating the following:
(a) That ESURANCE INSURANCE SERVICES, INC., has no duty to defend, nor to
indemnify the named Defendants, under the policy issued to Lindsey
Consentino, numbered PAMO7680850, for damages flowing from the subject
motor vehicle accident;
(b) For such other and further relief as this Court deems just and proper.

COUNT II- DECLARATION THAT COVERAGE FOR THE UNDERLYING LOSS IS
EXCLUDED BY THE SUBJECT AUTO POLICY

34. _ Plaintiff incorporates each and every allegation contained in {§ 1 through 33,
as if fully set forth and restated herein, verbatim.

35. As described in the portion of the policy quoted above, certain exclusions
appear in the subject policy.

36. The policy indicates ESURANCE has, “no duty to defend and [does] not
provide Liability Coverage for any insured”: “who is employed or otherwise engaged in
business,” nor while employed or otherwise engaged in the business of “delivering vehicles

designed for use mainly on public highways.”

Case No.: 3:21-cv-01226 Page 12 of 14
37. Arguing alternatively, even if Defendants Smith and United Auto qualified as
insureds (they do not), there is no coverage available to an insured who is engaged in
employment activities or business at the time of the loss.

38. There is no dispute that Defendants Smith and United Auto were employed in
the business of repossessing Ms. Consentino’s Acura at the time of loss, barring coverage for
the subject accident.

39. Additionally, the policy contains an exclusion for using a vehicle without
permission of its owner to do so.

40. As discussed more fully in Count |, Defendants Smith and United Auto were
taking possession of the vehicle from Consentino and were not using the Acura with her
permission.

41. Under the circumstances, any coverage for the underlying accident would be
excluded by the clear terms of the policy.

WHEREFORE, having fully set forth COUNT-II of its Claim for Declaratory Judgment,
Plaintiff, ESURANCE INSURANCE SERVICES, INC., respectfully requests that this Court enter
a Declaratory Judgment and equitable decree indicating the following:

(a) That the policy issued to Lindsey Consentino, numbered PAMO7680850,
specifically excludes coverage for accidents that occur when the insured is
employed or engaged in business and for an insured using a vehicle without
the owner’s permission. Finding that either one or both of the exclusions
apply, ESURANCE INSURANCE SERVICES, INC., has no duty to defend, nor

to indemnity the Defendants for damages flowing from the underlying motor

Case No.: 3:21-cv-01226 Page 13 of 14
vehicle accident:

(b) For such other and further relief as this Court deems just and proper.

Respectfully submitted,

ESURANCE INSURANCE SERVICES, INC.

By: _/s/Beth C. Boggs
Beth C. Boggs, #43089
BOGGS, AVELLINO, LACH & BOGGS, L.L.C.
9326 Olive Blvd., Suite 200
St. Louis, MO 63132
(314) 726-2310 Telephone
(314) 726-2360 Facsimile
bboggs@balblawyers.com
Attorneys for Plaintiff

 

Z:\LOK_data\2300\043\FED. Complaint DJ.docx\BCB\smr

Case No.: 3:21-cv-01226 Page 14 of 14
